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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiffs,                                  )
                                             ) CIVIL ACTION FILE NO.:
vs.                                          ) 1:17-cv-2989-AT
                                             )
BRAD RAFFENSPEGER, et al.                    )
                                             )
Defendants.                                  )
                                             )
                                             )



                  DECLARATION OF RICHARD DEMILLO

RICHARD DEMILLO declares, under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the following is true and correct:

   1. My name is Richard DeMillo. I am a tenured Full Professor at the Georgia

      Institute of Technology (Georgia Tech), where I hold the Charlotte B. and

      Roger C. Warren Chair in Computing. I received my Ph.D. from Georgia

      Tech in 1972 and have held positions of responsibility in academia, the

      federal government, and industry. I have held technical and senior executive

      positions and have published over a hundred books, patents, and articles

      related to cybersecurity. My work has been cited over 15,000 times, and

      several have been republished in collections of the most important

      contributions to computer science. I am a fellow of the Association for
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   Computing Machinery and the American Association for the Advancement

   of Science in recognition of my work in cybersecurity, which has been my

   focus for most of my career. The attached resume describes these positions,

   board memberships, and advisory roles in Government and industry.

   (Exhibit 1) My most recent assignment at Georgia Tech was to launch a new

   School of Cybersecurity and Privacy (SCP), ranked by the U.S. News &

   World Report as the Number 1 cybersecurity department in the country.

2. I have consulted pro bono with the Plaintiff’s counsel in the present lawsuit

   and previously submitted declarations to explain and clarify technical

   matters related to this lawsuit. Although this declaration is unrelated to my

   previous statements, I stand by my earlier declarations.

3. Under a signed protective order, I have reviewed the redacted and

   unredacted versions of a report (“the Halderman Report”) by Prof. J. Alex

   Halderman filed with the Court describing certain vulnerabilities inherent in

   the Dominion voting system currently in use in the State of Georgia, and in

   some other jurisdictions

4. I understand that the Halderman Report has been sealed since its issuance,

   and I further understand that the decision to keep the report secret was

   motivated by a concern that public disclosure of Dominion voting system

   vulnerabilities detailed in the Halderman Report would educate potential
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       threat actors in ways to exploit those weaknesses, thereby further degrading

       the system’s security.

    5. It is an established principle of cybersecurity that such a concern is

       misplaced and that the potential risks of disclosing vulnerabilities to hackers

       are vastly outweighed by the security enhancements that can only be

       achieved by prompt, responsible public disclosure of vulnerabilities. In

       effect, the natural inclination to insist on strict secrecy undermines system

       security. The reasoning behind this conclusion is explained below:

          a. Halderman’s reports were prepared and disclosed following a CISA

              process known as Responsible Vulnerability Disclosure which

              privately reports vulnerabilities to the parties involved so a prompt fix

              can be developed before the vulnerability is made public.

          b. Responsible Vulnerability Disclosure is a security-enhancing practice

              described by security agencies, standards bodies, and standard

              textbooks, such as:

                 i. The Computer Emergency Response Department of the

                    Software Engineering Institute at Carnegie Mellon University, a

                    Federally Funded Research and Development Center chartered

                    by the U.S. Department of Defense1


1
 https://resources.sei.cmu.edu/asset_files/specialreport/2017_003_001_503340.pdf
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               ii. The Cybersecurity and Infrastructure Security Agency (CISA),

                  an agency of the U.S. Department of Homeland Security2

              iii. The International Standards Organization (ISO), an

                  independent, non-governmental international organization with

                  a membership of 168 national standards bodies.3

              iv. Security in Computing (4th Edition) by Charles P. Pfleeger and

                  Shari Lawrence Pfleeger, Prentice Hall, 2017, pp. 675-6

               v. Disclosure of Security Vulnerabilities: Legal and Ethical Issues

                  by Alana Maurushat, Springer, 2013

         c. Contrary to some people’s belief, Responsible Vulnerability

            Disclosure does not involve keeping a vulnerability secret. As

            described in all these sources, security is degraded if the vulnerability

            is kept secret. Secrecy prohibits information sharing, vulnerability

            mitigation, and user awareness of a threat all of which are critical

            steps in enhancing system security. Among other benefits of public

            disclosure is the spotlight on vendors and software developers that

            promotes prompt fixing of a software defect or vulnerability.4




2
  https://www.cisa.gov/vulnerability-disclosure-policy-template
3
  https://www.iso.org/standard/72311.html
4
  https://www.schneier.com/essays/archives/2007/01/schneier_full_disclo.html
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  d. The information theoretical underpinnings of vulnerability disclosure

     are summarized in Kirchoff’s Principle, which states that, except for

     cryptographically secured information, system developers should

     never assume they have secret system knowledge unknown to

     attackers. Vulnerabilities exist whether or not they are

     disclosed. Once discovered, there is no theoretical advantage to

     assuming their existence is not known to bad actors.

  e. Keeping Professor Halderman’s (redacted) report under seal

     undermines the solid foundation for the concept of Responsible

     Disclosure which is critical to enhancing cybersecurity. Doing so

     degrades cybersecurity by unnecessarily prolonging the resolution of

     security issues, discouraging collaboration among security researchers

     and organizations, and eroding both public trust, and a culture of

     security awareness.

  f. Responsible Disclosure does not give a free license to publicize

     detailed information that would make an attacker’s job easier, and the

     Court is correct in restricting access to some of the details in the

     unredacted version of the Halderman Report. This specific

     information that should not be made public has already been identified

     by CISA and Professor Halderman. Nothing in my declaration should
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          be interpreted as advocating that such details be released to the

          general public.

6. In the special case of voting system cybersecurity vulnerabilities, it is

   particularly important that state and local election officials across the nation

   have responsible accurate expert explanations of serious vulnerabilities, such

   as the Halderman Report, promptly available to them in time to plan to

   mitigate the elevated risk to 2024 elections caused by Georgia’s voting

   system breaches in 2021. Officials across the nation are bombarded by

   disinformation about voting system issues from irresponsible actors. They

   will be naturally hesitant to act to make needed changes without expert

   validated information such as the Halderman Report, validated by CISA.

   Withholding expert information from these officials responsible for

   protecting the nation’s election infrastructure, and the technical advisors on

   whom they rely, serves to retard mitigation to the current serious

   cybersecurity concerns.

7. I understand that responsible vulnerability disclosure may be confused with

   the unauthorized release of executable images that occurred in Coffee

   County and possibly other jurisdictions. Making public the executable

   images of election software Georgia’s degraded system security, was highly

   irresponsible and unrelated to Responsible Disclosure. The Coffee County
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incident did not disclose vulnerabilities. It simply made it much easier to

discover exploitable errors and weaknesses. Publishing executable software

images without notifying the vendor provides an inexpensive way for any

bad actor to use off-the-shelf tools to experiment with and reverse engineer

software, a critical step in probing the system to discover previously

unknown weaknesses and vulnerabilities. Those vulnerabilities could be

exploited before Dominion or election officials had time to fix the

weaknesses. Incidents such as the statewide breach allegedly occurring via

Coffee County are the opposite of responsible disclosure. The information

released in Responsible Disclosure is limited to understanding a weakness

already discovered and fixed. While there is a small potential risk of

disclosing exploitable information, that risk is outweighed by the security-

enhancing features of responsible disclosure.

In summary: the potential risks of further disclosing vulnerabilities to bad

actors are far outweighed by the benefits of responsible disclosure in

improving voting system cybersecurity.
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     Executed on this date, May 15, 2023




     Richard DeMillo
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Richard DeMillo                                          1                                           May 16, 2023




                                            Richard A. DeMillo

                                              Curriculum Vita

Present Position
        •      Georgia Institute of Technology, Atlanta GA 30332
                  o Charlotte B. and Roger C. Warren Professor of Computing
                  o Professor of Management,
Education
        •      BA, Mathematics, 1969, College of St. Thomas, St. Paul Minnesota
        •      Ph.D., Information and Computer Science, 1972, Georgia Institute of Technology, Atlanta, Georgia

Professional Experience
                                Interim Chair
2020-Present
                                School of Cybersecurity and Privacy
                                Georgia Institute of Technology
                                Atlanta, Georgia 30332
                                Managing Director
2020-Present
                                Gtatrium, LLC
                                A Subsidiary of Georgia Advanced Technology Ventures
                                Charlotte B. and Roger C. Warren Professor of Computing
2015-Present
                                Georgia Institute of Technology
                                Atlanta, GA 30332
                                Director, Center for 21st Century Universities
2010-2020
                                Georgia Institute of Technology
                                Atlanta GA 30332
                                Distinguished Chief Scientist
2013-2014
                                Qatar Computing Research Institute
                                Qatar Foundation
                                Doha, Qatar
                                Professor of Management
2002-Present
                                John P. Imlay Dean of Computing (2002-2009)
(On Leave 2013-
                                Director, Georgia Tech Information Security Center (2002-2004)
2014)
                                Georgia Institute of Technology
                                Atlanta, Georgia 30332
                                Chief Technology Officer
2000-2002
                                Vice President
                                Hewlett-Packard Company
                                3000 Hanover Street
                                Palo Alto, CA 94303
                                General Manager
2000
                                Internet Systems Group
                                Telcordia Technologies (Formerly Bellcore)
                                445 South Street
                                Morristown, NJ 07960
                                Vice President and General Manager
1994-2000
                                Information and Computer Sciences Research
                                Telcordia Technologies (Formerly Bellcore)
                                445 South Street
       Case 1:17-cv-02989-AT Document 1678-5 Filed 06/05/23 Page 11 of 22
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                                Morristown, NJ 07960
                                Visiting Professor
1994
                                Department of Electronics and Informatics
                                University of Padua
                                Padua, Italy
                                Director
1989-91
                                Computer and Computation Research Division
                                National Science Foundation
                                1800 G Street NW
                                Washington, DC
                                Professor of Computer Science and Director
1987-96
                                Software Engineering Research Center
                                Purdue University
                                West Lafayette, Indiana
                                Director
1985-87
                                Software Engineering Research Center
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Assistant Director for Research
1984-87
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Professor of Information and Computer Science
1981-87
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Associate Professor of Information and Computer Science
1976-81
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Assistant Professor
1972-76
                                Department of Electrical Engineering and Computer Science
                                University of Wisconsin, Milwaukee
                                Milwaukee, Wisconsin
                                Research and Teaching Assistant
1969-72
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Research Assistant
1969-71
                                Los Alamos National Laboratory
                                Los Alamos, New Mexico

Research and Consulting Experience
          Rich has been a consultant to many major corporations and other organizations. Detailed descriptions of
          recent consultantships are available upon request:

Board Memberships
          Rich has been a board member and director of many public and private corporations, foundations and
          philanthropic organizations. Detailed descriptions of recent board memberships are available upon request:
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Professional Recognition
       ANAK, Outstanding Faculty Award (2106)
       Annual Achievement Award of the Association for Educational Communications and Technology (2019)
       American Publishers Association Best Book Award (Education, 2016)
       Inaugural Fellow of the Lumina Foundation
       Fellow of the Association for Computing Machinery
       Fellow of the American Association for the Advancement of Science

Panels and Advisory Positions
       1983:       Secretary of Defense Blue Ribbon Panel (The Eastman Panel) to Define the Software
                   Engineering Institute (SEI)
       1983-1985: IBM Software Tools Advisory Board
       1984:       Congressional Office of Technology Assessment Panel on Research Directions in Software
                   Engineering.
       1987:       National Research Council Committee on Computer Security
       1993-1996: National Research Council committee on Statistical Methods in Software Engineering
       1992-1993: FAA VSCS Independent Fault Analysis Team
       1995:       National Research Council committee on Commercial Software Practices in Defense Software
       1995-2000: Princeton University Computer Science Advisory Committee
       1998-2000: Advisory Board of the College of Computing, Georgia Tech
       2000-3:     Georgia Tech Advisory Board
       2001-2005: Advisory Board of the Johns Hopkins University Computer Sciences Department
       2003-2005: National Research Council Committee on Telecommunications Research
       2004-2005: National Research Council Committee on Network Science and the Army’s Future Needs
       2005        Defense Science Board Committee on Security of Software
       2010-2013   Strategic Advisory Committee (Chair) Qatar Computing Research Institute
       2012        AMA Advisory Board on Medical Education
       2012-2016   World Economic Forum Global Action Council on the Future of Universities
       2012-2015   Pacific Northwest National Laboratories National Security Advisory Council
       2012-2016   Western Governors University Advisory Board
       2013-2016   Singapore Institute of Technology and Design Advisory Board
       2015        IEEE Computer Society, Research Advisory Board
       2019        Michigan Commission on Election Security, Department of State, State of Michigan
       2020        US Department of Education, Education Blockchain Initiative



   Editorships
       1990-96     Series Editor, Software Science and Systems, Plenum Publishing Company
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        1989-96      Editorial Board, ACM Transactions on Software Engineering and Methods
        1988-94      Editorial Board, IEEE Transactions on Software Engineering
        1985-87      Editorial Board, Information and Control
        1982-85      Editorial Board, ACM Transactions on Mathematical Software

Biographical
        •   American Men and Women of Science
        •   Who’s Who in America
        •   Who’s Who in the World

Professional Societies
        • Association for Computing Machinery
        • American Mathematical Society
        • Mathematical Association of America
        • Society for Industrial and Applied Mathematics
        • American Association for the Advancement of Science
        • Association for Symbolic Logic
        • IEEE
Rich has served on numerous program committees for professional meetings. In addition, Rich has served as
Chairman or Program Chairman for the following annual conferences
        •   15th International Conference on Software Engineering, 1993
        •   ACM SIGSOFT Annual Symposium, 1989 (Testing, Analysis and Verification)
        •   ACM Computer Science Conference, 1988
        •   ACM Symposium on Theory of Computing, 1984
        •   NSIA Conference on Test and Evaluation, 1983
        •   ACM Symposium on Principles of Programming Languages, 1982
        •   First IEEE Symposium on Security and Privacy, 1981



Publications
Books
•   R. A. DeMillo, After the Revolution: How a Global Pandemic and the Changing Face of Work Transformed
    Colleges and Universities, In preparation
•   R. A. DeMillo, Revolution in Higher Education: How A Small Band of Innovators will Make College Accessible
    and Affordable, MIT Press 2015 (foreword by Amb. Andrew J. Young)
•   R. A. DeMillo, Abelard to Apple: The Fate of American Colleges and Universities, MIT Press, 2011.
•   R. A. DeMillo and J. R. Rice, Editors, Studies in Computer Science, Plenum Press 1994
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•   R. A. DeMillo, W. M. McCracken, R. J. Martin, J. F. Passafiume, Software Testing and Evaluation, The
    Benjamin-Cummings Publishing Company, Inc. 1986.
•   G. I. Davida, R. A. DeMillo, D. P Dobkin, M. A. Harrison, R. J. Lipton, Applied Cryptology, Cryptographic
    Protocols, and Computer Security, American Mathematical Society (Applied Mathematics Series), 1984,
    American Mathematical Society. (Also: Indonesian edition, translated by Pangeran Sianipar, 1994)
•   R. A. DeMillo, D. P. Dobkin, A. K. Jones, and R. J. Lipton, Editors, Foundations of Secure Computation,
    Academic Press, 1978

Special Publications
•   Michigan Election Security Advisory Commission Report and Recommendations, October 2020
    ESAC_Report_Recommendations_706522_7.pdf (michigan.gov)
•   Deliberate Innovation, Lifetime Education: Report of the Commission on Creating the Next In Higher Education,"
    Atlanta Georgia 2018 https://dx.doi.org/10.2139/ssrn.3753524
•   “Statistics and Software Engineering”, National Academy of Sciences, National Research Council Committee on
    Statistics, Document Number, 1996, Washington, DC.
•   “Report of the Voice Switching and Control System (VSCS) Independent Fault Tolerance Analysis Team
    (VIFTAT),” A Report to the Federal Aviation Administration, MITRE Report (January, 1993).
•   "Computer and Information Security in the Department of Energy's Classified Environment" (U), National
    Academy of Sciences, National Research Council Committee on Computer Security Doc. No. 88-EEB-2, 1988,
    Washington, DC (Classified Report)
•   R. A. DeMillo, “Operational Readiness of the Patriot Air Defense System Software”(U), Report to Director
    Operational Test and Evaluation, USDRE, 1985 (Classified Report)
•   R. A. DeMillo, "Software Test and Evaluation Manual: Volume 1, Guidelines for the Treatment of Software in
    Test and Evaluation Master Plans", Sept., 1984. Issued by the Office of the Secretary of Defense as Attachment
    to Department of Defense Directive 5000.3 ("Test and Evaluation") DoDD 5000.3-M-3.
•   "Software Testing", Encyclopedia of Information and Computer Science, 3rd Edition, Anthony Ralston
•   “Observing the 2006 Presidential Elections in Venezuela: Final Report of the Technical Mission,” The Carter
    Center, 2007
•   “New Ecosystems in Higher Education and What They Mean for Accreditation and Assessment, in WASC
    Concept Papers, 2nd Series: The Changing Ecology of Higher Education and its Impact on Accreditation, March
    2013, Western Association of Schools and Colleges, Accrediting Commission for Senior Colleges and
    Universities.
•   “Governance for a New Era: A Blueprint for Higher Education Trustees,” Project on Governance for a New
    Era, Benno Schmidt, Chairman, August 2014
•   “Deliberate Innovation, Lifetime Education: Report of the Commission on Creating the Next In Education,”
    March, 2018. Georgia Tech

Selected Recent Articles, Op-Ed and Opinion
“Georgia Voting Processes Should be Both Secure and Usable,” with Michael Best and Ellen Zegura, Atlanta
Journal and Constitution, March 13, 2021 Opinion: Ga. voting processes should be both secure and usable (ajc.com)
“Georgia’s new voting machines aren’t any more secure,” Atlanta Journal-Constitution, August 24, 2019
https://www.ajc.com/news/opinion/opinion-new-voting-machines-aren-any-more-
secure/oxfbdSoCpglUtuUCGGbrrK/
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“Replace Georgia’s Risky Touchscreen Voting Machines,” Atlanta Journal-Constitution, July 27,
2018,https://www.ajc.com/news/opinion/opinion-replace-risky-touchscreen-voting-
machines/IjncsjZgBylGqekhN7L3cJ/
“This Will Go On Your Permanent Record! How Blockchains Can Transform Colleges in a Networked World,” The
EvoLLLution, May 5, 2017, https://evolllution.com/programming/credentials/this-will-go-on-your-permanent-
record-how-blockchains-can-transform-colleges-in-a-networked-world/
“The Human Element and the Power of Big Data in Higher Education.” The EvoLLLution, March 25, 2017
“Georgia’s Election System Can’t be Trusted.” Bloomberg View, December 18, 2017,
https://www.bloomberg.com/view/articles/2017-12-18/georgia-s-election-system-can-t-be-trusted
“Election Hacking is Going to Happen. Here’s What We Can Do Now to Protect Our Vote,” (with Candice Hoke
and Duncan Buell) USA Today, March 25, 2018, https://www.usatoday.com/story/opinion/2018/03/15/russian-
election-hacking-what-we-can-do-now-protect-democracy-buell-demillo-hoke-column/393565002/
“Gatekeepers No More: Colleges Must Learn a New Role,” The Chronicle of Higher Education, September 14,
2015, https://www.chronicle.com/article/Gatekeepers-No-More-Colleges/232975

Patents
D. Boneh, R. DeMillo and R. Lipton , “Method of using transient faults to verify the security of a cryptosystem” ,
Patent Number 6,965,673

Invited Talks, Keynotes
Rich is a frequent speaker at conferences and events. Details are available upon request

Papers and Book Chapters

1.   J. Gough and R. A. DeMillo, “Towards an Ostensive Grammar I” Eighth Annual Meeting of the Association for
     Computational Linguistics (July 1970), Columbus, Ohio.
2.   R. A. DeMillo, “An Application of an Ostensive Grammar to the Analysis of Existential Predicates”, Proceedings
     of the Southeastern Conference on Linguistics (October 1970), Atlanta, Georgia.
3.   L. Chiaraviglio and R. A. DeMillo, “On the Applicative Nature of Assignment”, Georgia Institute of Technology
     Report Number GIT-ICS-71-1 (1971).
4.   R. A. DeMillo, Formal Semantics and the Logical Structure of Programming Languages, Ph.D. Thesis, 1972,
     Georgia Institute of Technology, Atlanta, Georgia.
5.   R. A. DeMillo, “Parallelism and Non-Determinism in the Lattice of Programs”, Record of the Computer Science
     Conference, (February 1973), Columbus, Ohio.
6.   R. A. DeMillo, “Constructing and Verifying Courses of Action in Robots,” Proceedings of MSAC-73, (February
     1973), Milwaukee, Wisconsin.
7.   R. A. DeMillo and R. A. Northouse, “Autonomous Computing: Perspectives and Models for Artificial
     Intelligence,” Proceedings MSAC-74, (February 1974), Milwaukee, Wisconsin.
8.   R. A. DeMillo and K. Vairavan, “Parallel Scheduling of Programs in a Restricted Model of Computation”,
     Proceedings Sixth ACM Symposium on Theory of Computing, (May 1974), Seattle, Washington.
9.   R. A. DeMillo, “A Lattice Theoretic Interpretation of a Theorem by Patil,” University of Wisconsin-Milwaukee
     Technical Report No. 75-6 (1975)
10. R. A. DeMillo, S. C. Eisenstat and R. J. Lipton, “The Complexity of Control and Data Structures”, Proceedings
    Seventh Annual Symposium on Theory of Computing, Albuquerque, New Mexico (May 1975), pp. 186-193.
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11. R. A. DeMillo, S. Amoroso and M. Wolfe, “Primitives for Tactical Real-Time Control Languages based on
    Simula 67 II: Design and Implementation Considerations”, CENTAC Report No. 58, US Army Electronics
    Command, Fort Monmouth, NJ (1975).
12. R. A. DeMillo, S. Amoroso and M. Wolfe, “Primitives for Tactical Real-Time Control Languages based on
    Simula 67 I: General Language Considerations”, CENTAC Report No. 50, US Army Electronics Command, Fort
    Monmouth, NJ (1975).
13. R. A. DeMillo, “Nondefinability of Certain Semantic Properties of Programs”, Notre Dame Journal of Formal
    Logic, Vol. 16, No. 4, (1975), pp. 583-590.
14. R. A. DeMillo, S. C. Eisenstat and R. J. Lipton, “Space-Time Tradeoffs in Structured Programming”, Proceedings
    1976 Johns Hopkins Conference on Information Systems and Sciences, Baltimore, Maryland, (March, 1976), pp.
    240-245.
15. R. A. DeMillo, S. C. Eisenstat and R. J. Lipton, “Programming Language Studies I: The Power of Control and
    Data Structures” University of Wisconsin-Milwaukee Technical Report No. 76-13 (1976)
16. R. A. DeMillo, S. C. Eisenstat and R. J. Lipton, “Can Structured Programs be Efficient”, SIGPLAN Notices, Vol.
    11, No. 10, (October, 1976), pp. 10-18.
17. R. A. DeMillo, S. C. Eisenstat and R. J. Lipton, “Space and Time Hierarchies for Classes of Control and Data
    Structures”, Journal of the ACM, Vol. 23, No. 4 (October, 1976), pp. 720-730.
18. R. A. DeMillo, S. C. Eisenstat, and R. J. Lipton, “Space-Time Tradeoffis in Structured Programming: Reducible
    Flowgraphs (Abstract Only), Computer Science Conference, 1976.
19. K. Vairavan and R. A. DeMillo, “On the Computational Complexity of a Generalized Scheduling Problem”, IEEE
    Transactions on Computers, Vol. C-25, No. 10 (October, 1976), pp. 720-732. This paper has been reprinted under
    the same title in Distributed Computing: Concepts and Implementations, edited by Paul McEntire, John G.
    O’Reilly and Robert E. Larsen, published by IEEE Press (1984).
20. R. A. DeMillo, R. J. Lipton and A. J. Perlis, “Social Processes and Proofs of Theorems and Program”, 6th ACM
    Symposium on Principles of Programming Languages (January 1977) Santa Monica, California, pp. 245-262
    [See main entry number [40] below].
21. R. A. DeMillo, K. Vairavan and E. Sycara-Cyranski, “A Study of Schedules as Models of Parallel Computation”,
    Journal of the ACM, Vol. 24, No. 4 (October, 1977), pp. 544-565.
22. R. A. DeMillo, “Some Applications of Model Theory to the Metatheory of Program Schemata”, Notre Dame
    Journal of Formal Logic”, Vol. 18, No. 3, 1977, pp. 489-495.
23. R. A. DeMillo, S. C. Eisenstat, and R. J. Lipton, “Preserving Average Proximity in Arrays” Communications of
    the ACM”, Vol. 23, No. 3, (March 1978), pp. 228-230.
24. R. A. DeMillo and R. J. Lipton, “A Constructive Generalization of the Borel-Cantelli Lemma with Applications
    to the Complexity of Infinite Strings”, Mathematical System Theory”, Vol, 13, 1979, pp. 95-104.
25. R. A. DeMillo, D. P. Dobkin and R. J. Lipton, “Combinatorial Inference”, Proceedings 1977 Allerton Conference
    on Communication, Control and Computing [Also appears in R. DeMillo et al (editors), Foundations of Secure
    Computation, Academic Press, 1978, pp. 27-38.
26. R. A. DeMillo, D. P. Dobkin and R. J. Lipton, “Even Data Bases that Lie can be Compromised”, IEEE
    Transactions on Software Engineering”, Vol SE-4, No. 1 (January, 1978), pp. 71-74.
27. B. H. Barnes, G. I. Davida, R. A. DeMillo, L. H. Landweber, H. Stone, “Theory in the Computer Science and
    Engineering Curriculum”, IEEE Computer”, Vol. 18, No. 12 (December, 1977), pp. 106-108.
28. R. A. DeMillo, R. J. Lipton and L. G. McNeil, “Proprietary Software Protection” in R. A. DeMillo et al (editors),
    Foundations of Secure Computation”, Academic Press, 1978, pp. 115-132.
29. R. A. DeMillo and D. P. Dobkin, “Foundations of Secure Computation”, in R. A. DeMillo et al (editors),
    Foundations of Secure Computation”, Academic Press, 1978, pp. 1-3.
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